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                              COMMONWEALTH OF KENTUCKY
                                  SCOTT CIRCUIT COURT                                         FILED
                                        I
                                 ---"'-----     DIVISION
                                 CASE NO: I ~-CI -SQS                                        JUN 18 2018
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                                                                                                    v . l
 JERRY WILSON                                                           ............ '"'~·
                                                                                      -'-- •GUlf(('t•·.-r·
                                                                                           ---~.1 JI'
 317 East 5th Street
 Manchester, OH 45144

                                                                                    PLAINTIFFS

 v.



 ON THE SPOT TRUCKING, INC.                                                        DEFENDANTS
 3016 Jiles Road NW
 Kennesaw, GA 30144


         SERVE:          KENTUCKY SECRETARY OF STATE
                         Office of the Secretary of State
                         Sunimonses Branch
                         700 Capitol Avenue, Suite 86
                         Frankfort KY, 4060 I

 and

 JAMES SHEARER
 8978 Tweeddale Drive
 Winston, GA 30187


         SERVE:          KENTUCKY SECRETARY OF STATE
                         Office of the Secretary of State
                         Surnn1onses Branch
                         700 Capitol Avenue, Suite 86
                         Frankfort KY, 40601


                             COMPLAINT 'WITH JURY DEMAND

         Come now Plaintiff, Jerry Wilson, by and through counsel and for his cause of action

 herein, state as follows:




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    l. Plaintiff, Jerry Wilson, at all times herein mentioned is a resident of the city of

         Manchester, County of Adams, State of Ohio.

    2. Defendant, On The Spot Trucking is and was at all times herein referred to, a corporation

         duly organized and incorporated in the State of Georgia and doing business in the

         Commonwealth of Kentucky.

    3.   Defendant, James Shearer, at all times herein mentioned was a resident of the city of

         Winston, County of Douglas, State of Georgia.

    4. The amount in controversy exceeds the jurisdiction requirement of this court and venue is

         proper in this court in that this action arose within Scott County, Commonwealth of

         Kentucky.

                                             COUNT I

    5. Paragraphs five (5) through nine (9) are hereby reiterated and incorporated by reference

         as if fully stated herein.

    6. On or about January 10, 2017, Plaintiff Wilson was lawfully operating his vehicle

         southbound ofl-75 in or near the City of Georgetown, Scott County, Commonwealth of

         Kentucky.

    7. On or about January 10, 2017, the Defendant, James Shearer, driving a 2006 SE

         Columbia 112 CNV Freightliner and flatbed, owned by On The Spot Trncking, Inc., in

         such a careless and negligent manner as to cause it to collide with a vehicle owned and

         operated by Plaintiff Wilson.

    8. As a result ofthc negligence of the Defendant, James Shearer above, the Plaintiff Wilson

         was injured in, on and about his body, both temporarily and permanently; incurred



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       medical expenses and will so in the future; lost time from work and had her power to

       labor and earn money impaired, both past and future; was caused to suffer great pain,

       both mental and physical, past and future all to her detriment and damage.

    9. As a result of the negligence of the Defendant, James Shearer, above, the Plaintiff, Jerry

       Wilson, was injured in, on and about his body, both temporarily and permanently;

       incurred medical expenses and will do so in the future; was caused to suffer great pain,

       both mental and physical, past and future all to his detriment and damage.

                                              COUNTU

    10. Paragraphs ten (10) through thirteen ( 13) are hereby reiterated and incorporated by

       reference as if fully stated herein.

    11. Defendant James Shearer's negligent acts and omissions constitute violations of various

       sections and subsections of the Kentucky Revised Statutes, including, but not limited to

       KRS' 189.290(1); KRS' 189.340(1) and KRS § 189.340(6)(a); which constitutes as

       negligence per se pursuant to KRS ' 446.070 and Kentucky Case Law.

    12. The injures sustained by the Plaintiff arc the type which the above mentioned statutes

       seek to prevent and that such injuries were proximately caused by Defendant James

       Shearer's violation of these statutes.

    13. As a direct and proximate result of Defendant James Shearer's violations of Kentucky

       law, Plaintiffs have sustained the injuries and damages itemized in Count I, paragraphs

       eight(8) and nine (9), all of which are incorporated by reference as set forth in Count II.



                                              COUNT UI



                                                 3
                                                                          r
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     14. Paragraphs fourteen (14) through eighteen are hereby reiterated and incorporated by

          reference as if fully stated herein.

     15. At all times herein mentioned, Defendant, James Shearer, was an employee of Defendant,

          On The Spot Trucking, Inc., and at the time of the collision was working within the

          course and scope of his employment.

     16. Defendant, On The Spot Trucking, Inc., as employer, knew of or should have known of

          the careless and negligent driving propensities of its employee, Defendant, James

          Shearer.

     17. Defendant, On The Spot Trucking, Inc.. , employer, knowing of such dangerous

          propensities, in allowing Defendant James Shearer to operate a motor vehicle in a

          careless and negligent manner, was the direct cause and or proximate cause of the

          dangerous condition which injured the Plaintiff.

     18. Defendant, On The Spot Trucking, Inc., is vicariously liable under the theory of

          Respondeat Superior for the negligent acts of its employees during the comse and scope

          of their employment.

          WHEREFORE, Plaintiff, Jerry Wilson, demands judgment against the Defendants in an

 amount in excess of the jurisdictional requirements of this court together with interest therein and

 the costs of this action, and any other relief, including pre-judgment interest, as this Court deems

proper.

                                             JURY TRIAL

          Plaintiff respectfully requests a trial by jury on all issues set forth in this complaint.




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                                          Respectfully submitted:
                                          ROBERT L. POOLE




                                          Robert L. Poole, K.B.A.# 86183
                                          2656 Crescent Springs Rd., Ste. 1
                                          Covington, KY 41017
                                          (859) 261-3400
                                          (859) 261-3928 fax




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                                     COMMONWEALTH OF KENTUCKY




                                                                                                               997F5A92-E7C6-4113-86F4-A4EAB59E8191 : 000001 of 000005
                                          SCOTT CIRCUIT COURT
                                                 DIVISION I
                                       CfVIL ACTION NO. l 8-CI-00325
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        JERRY WILSON                                                                           PLAINTIFF

        VS .                                        ANSWER

        ON THE SPOT TRUCKING. INC. and
        JAMES SHEARER                                                                      DEFENDANTS

                                             ***    ***     ***    ***

                 Come the Defendants, On The Spot Trucking, Inc .. and James Shearer. by counsel. and for

        their Answer to Plaintiffs Complaint, state as fo llows:

                 1.     These Defendants are without sufficient knowledge or information to form a belief

        as to the truth of the averments contained within Paragraphs 1. 2. 3. and 4 of the Plaintiff's

        Complaint, and, therefore, deny same.

                 2.     In response to Paragraph 5 of the Plaintifrs Complaint, these Defendants reallege,

        reaver. reiterate and incorporate herein by reference each and every preceding paragraph of this

        Answer as though set forth herein.

                 3.     These Defendants are without sufficient knowledge or information to form a belief

        as to the truth of the averments contained within Paragraph 6 of the Plaintiffs Complaint. and,

        therefore, deny same.

                 4.     These Defendants deny the avem1ents contained within Paragraphs 7. 8. and 9 of

        the Plaintiff's Complaint.
                                                                                                               ANS : 000001 of 000005




                 5.     In response to Paragraph I 0 of the Plaintitrs Complaint, these Defendants reallege,

        reaver, reiterate and incorporate herein by reference each and every preceding paragraph of this

        Answer as though set forth herein.



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                6.     These Defendants deny the averments contained within Paragraphs 11. 12, and 13




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        of the Plaintiff's Complai nt.

                7.      ln response to Paragraph 14 of the Plaintiffs Complaint. these Defendants re-allege.

        re-aver, reiterate and incorporate herein by reference each and every preceding paragraph of this

        Answer as though set forth herein.

                8.      In response to Paragraph 15 of the Plaintiff's Complaint. these Defendants state

        Defendant Shearer was working for On T he Spot Truck ing on the date in question; however, these

        Defendants are without sufficient knowJedge or information to form a belief as to the truth of the

        averments contained within Paragraph 15 of the Plaintiffs Complaint. To the extent the avennents

        conflict with these Defendants statement herein, they are denied.

                9.      These Defendants deny the averments contained within Paragraphs 16. 17, and 18

        of the Plaintiffs Complaint.

                lO.     Each and every avennent contained with in the Plaintiff's Complaint that is not

        specifically admitted herein is hereby denied.

                                                  FIRST DEFENSE

                As an affirmative defense, these Defendants specifically plead that the Plaintiffs

        Complaint fails to state a claim against them for which relief may be granted.

                                                 SECOND DEFENSE

                As an affim1ative defense, these Defendants specifically plead that the Plaintiff's

        Complaint fai ls to name and join in this action all real parties in interest and/or all indispensable

        necessary and proper parties.
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                                                 THIRD DEFENSE




                                                                                                                997F5A92-E7C6-4113-86F4-A4EAB59E8191 : 000003 of 000005
               As an affirmati ve defense. these Defendants specifically plead that the Plaintiffs

        Complaint is barred by the provisions of the Ton Reform Act, as contained in Chapter 411 of the

        Kentucky Revised Statutes.

                                               FOURTH DEFENSE

               As an a ffirmative de fense, these Defendants specifically plead that Plaintiffs Complaint is

        barred by the provisions of the Kentucky Motor Vehicle Reparati ons Act. as conta ined in Subtitle

        39 of Chapter 304 of the Kentucky Revised Statutes.

                                                 FIFTH DEFENSE

               As an affi rmati ve defense, these Defendants specifically pl ead that the damages alleged in

        Plaintiff' s Complaint, if any. were the direct and proximate result of the sole and/or comparative

        negligence of the Plaintiff, and/or persons or entities not presently parties to th is lawsuit.

                                                 SIXTH DEFENSE

                As an affirmati ve defense, these Defendants specifically plead that the damages a lleged in

        the Plainti ffs Complaint, if any. were avoidable consequences, since Plaintiff failed to mitigate or

        reduce bis alleged damages. if any.

                                               SEVENTH DEFENSE

               As an affmnative defense, these Defendants specifically plead that the Plaintiff has waived

        his right to assert a claim against them and is, therefore. estopped to do so in this lawsui t.

                                                EIGHTH DEFENSE

                As an affi rmative defense. these Defendants specificall y p lead that the Plaintiffs
                                                                                                                ANS : 000003 of 000005




        Complaint is barred, in whole or in part, by the appli cable statute of li mitations or the equitable

        doctrine of Iaches.



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                                                   NINTH DEFENSE




                                                                                                               997F5A92-E7C6-4113-86F4-A4EAB59E8191 : 000004 of 000005
                  As an affirmative defense. these Defendants specifically plead that the injuries and

        damages alleged in Plainti ffs Complaint, if any. were the direct and proximate result of

        supersedi ng and/or intervening causes over which these Defendants had no responsibility or

        contro l.

                                                   TENTH DEFENSE

                  As an affirmative defense, these Defendants specifically plead that the Plai ntiffs

        Complaint is barred due to insufficiency of service of process and lack of jurisdiction over the

        person.

                                                ELEVENTH DEFENSE

                  As an affirmative defense, these Defendants specifically plead that at the time and on the

        occasion complained of in Plaintiffs Complaint Defendant James Shearer was confronted with a

        situation of sudden emergency.

                                                 TWELFTH DEFENSE

                  Defendants reserves the right to amend this Answer or lo assert any additional defenses

        that become known and available to them.

                  WH EREFORE, the Defendants pray the Court as follows:

                    1.   That Pl aintiff' s Complaint fil ed against them in this action be dismissed with

        prej ud ice and stricken from the docket;

                  2.     That they be awarded their costs herein expended, including reasonable attorneys'

        fees (if applicable);
                                                                                                               ANS : 000004 of 000005




                  3.     For a tria l of th is cause by jury; and.




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                   4.           For any and all other j ust and proper relief to which this Court may deem them




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        entitled.


                                                                       Respectfully submitted.




                                                                         elis T ompson Richardson
                                                                       Tamara J. Patterson
                                                                       77 1 Corporate Drive, Suite 900
                                                                       Lexington, Kentucky 40503
                                                                       Telephone: (859) 2 19-9090
                                                                       Facsimile: (859) 2 19-9292
                                                                       COUNSEL FOR DEFENDANTS

                                                           CERTIFICATE OF SERVICE

                   This is to certify that the foregoing has been served on thi s the            l1-.i y of September. 20 18,
        by mailing and/or emailing a true and accurate copy to the following :

         Ro bert L. Poole
         2656 Crescent Springs Road, Suite I
         Covington, KY 41 0 l 7
         Counsel for Plaintiff



                                                                       ~ND                          ANTS
                                                                                                              -
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                                      COMMON WEAL TH OF KENTUCKY




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                                          SCOTT C IRCU IT COU RT
                                                DIVISION I
                                       CIVIL ACTION NO. 18-CI-00325
                                             Electronically Filed

        J ERRY WILSON                                                                            PLAINTJFF

        vs.                     INTERROGATORIES AND REQUESTS FOR
                                    PRODUCTION OF DOCUMENTS

        ON THE SPOT T RUCKING. INC. and
        JAMES SHEARER                                                                        DEFE DANTS

                                               ***   ***     ***     ***

                Pursuant to CR 33 and CR 34, the Defendants. On the Spot Trucking, Inc., and James

        Shearer, hereby propound the foll owing discovery requests upon the Plaintiff, Jerry Wilson, to be

        responded to in writing, under oath. and as otherwise required by the Kentucky Rules of Civi l

        Procedure. and pursuant to the definiti ons and instructi ons set out below.

                In answeri ng the interrogatories, all information is to be divulged that is within the

        knowledge, possession, or control of you, your attorney, or your agents. or that may be reasonably

        ascertained by you or them. You are requested to supplement your initial answers to these

        Jnterrogatories after service of your answers if you later ascertain or acquire any information that

        fa lls within the scope of these Interrogatories or if events within the scope of these interrogatories

        occur after service of your answers.

                You are requested to produce any requested documents to the office of Walters Richardson,

        PLLC. Corporate Plaza, 771 Corporate Dri ve. Suite 900, Lex ington, Kentucky, within thirty (30)

        days of service hereof. At your option, however. you may, prior to thi s date, provide these
                                                                                                                  IRPD : 000001 of 000032




        Defendants with copies of all documents in your possession. custody, or control responsive to

        these requests by hand-deli vering or mailing copies of those documents to counsel for these




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        Defendants at the address listed above. If you choose to respond under this option. you are




                                                                                                                    BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000002 of 000032
        instructed to retain the originals of the documents so that these Defendants or their counsel may

        inspect them if they desire. If you desire to produce the documents at a different location. date, or

        time, or to produce the documents in a different manner, please contact counsel for these

        Defendants to make other reasonable arrangements for production.

                                     DEFINITIONS AND INSTRUCTIONS

                A.     Each document request seeks all information available to the Plaintiff. Jerry

        Wilson, his attorneys or agents, and any other persons acting on his behalf.

                B.     As used herein. the terms "P laintiff; · '-you," or •·your·' mean, without limitation,

        the Plaintiff, Jerry Wi lson, his attorneys, agents, and representatives.

                C.     An interrogatory asking you to '"state in detail" or ..describe in detail'" seeks

        disclosure of each fact, circumstance, condition, or anything known to you about the subject of the

        interrogatory containing the phrase, as of the date the Interrogatories were answered.

                0.      lf an interrogatory asks you to ..state in detail" the basis for a contention, you should

        state all facts, law, and applications of law to fact upon which you relied or rely in making or

        maintaining the contention.

                E.      ·'OocumenC or "documents" is defined to be synonymous in meaning and equal in

        scope to the usage of this term in CR 34.01. A draft or non-identical copy is a separate document

        within the meaning of this term.

                F.      The term ''document" includes any copy or copies of any of the foregoing on which

        any mark, alterati on, or additional writing or other change from the original, or from any other
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        copy, has been made.




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                G.      ..Person'' or .. persons·· means all entities, including, without limiting the generality




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        of the foregoing, all natural persons, corporations, firms. companies. partnerships, joint ventures,

        associations, trusts, estates, departments, boards, bureaus, governmental or public agencies. and

        any other public, private, or legal entity.

                H.      Where appropriate in these requests, the singular form of a word shall be interpreted

        as plural, and the pluraJ form as singular.

                l.      \\'here appropriate in these interrogatories, '"and" as well as ··or" shall be construed

        either disjunctively or conjunctively, as necessary. to bring under the scope of these requests any

        information that might otherwise be construed to be outside of their scope.

                J.      When an interrogatory requires you to describe or identify a person o r other entity,

        it is intended that the answer shall give the name. address, and telephone number of the person or

        entity, and the name of the individua l's workplace. workplace address. and workplace phone

        number.

                K.      If there is objection to the production of any document or part thereof under the

        claim of privilege or work product. then please identify the document, state the privilege involved,

        and state the factual and legal basis for the claimed privilege. Identify the document by stating the

        type of document, the date o f the document, its sender(s), or preparer(s), its addressee(s), the

        person(s) to whom the document was shown or to w hom copies were furnished, the subj ect matter

        of the document and the person in whose custody the document is presently located. Jf the basis

        of your objection is confidentiality, please inform us as soon as possible so that the parties may

        execute a confidentiality agreement.
                                                                                                                    IRPD : 000003 of 000032




                L.      If any document requested was. but is no longer, in your possession. custody. or

        control , please state whether the document is mi ssing or lost, has been destroyed. has been



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        transferred to another person, or otherwise has been disposed of. For each such document. please




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        explain the circumstances surrounding disposition and describe the subject matter of the document.

                  M.    Please produce documents by category, as specified in CR 34.02. Consider each

        request a category.

                  N.    These requests are continuing ones, and Plaintiffs shall produce for inspection and

        copying any documents requested that are non-existent or unavailable at the date of production,

        but which come into existence or become available at any time prior to or during the trial of this

        action.

                                              INTERROGATORIES

        lNTERROGA TORY NO. 1:                Please identify each and every individual participating in the

        answering of these interrogatories, including full name, date of birth. employment address and

        telephone nw11ber, residential address and telephone number, driver's license number, and Social

        Security number.

        ANSWER:



        INTERROGATORY NO. 2:                State your present address and how long you have been living at

        that address and all other addresses where you have resided for the last ten ( I 0) years. giving the

        length of stay at each residence.

        ANSWER:



        INTERROGATORY NO. 3:                 State the names of any and all relati ves by blood or marriage
                                                                                                                IRPD : 000004 of 000032




        that reside in Scott County, Kentucky .

        ANSWER:



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        INTERROGATORY NO. 4:              Please identify each and every individual who has knowledge of




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        discoverable information regarding the January I 0. 20 I 7, motor vehicle accident that gave rise to

        your cause of action including home and work addresses, and telephone numbers. and a brief

        synopsis of the information known by each.

        ANSWER:



        INTERROGATORY NO. 5:                 If you, or anyone acting on your behalf, have d iscussed this

        matter with these Defendants, their agents, representatives, or employees. please:

                (a)     identify the indi vidual with whom communications were conducted;

                (b)     give the date of the communication; and

                ( c)    state in detail the substance of the communication.

        ANSWER:



        INTERROGATORY NO. 6:                 Describe in complete detail the automobile accident which

        occurred on or about January I 0. 2017, in Georgetown, Scott County, Kentucky. which is the

        subject matter of this litigation. describing chronologically the events that occurred leading up to

        the motor vehicle accident, during the accident. and immediately thereafter.

        ANSWER:



        INTERROGATORY NO. 7:               Please state the amount that you claim for each item of damages

        alleged in your Complaint. itemizing any claimed miscellaneous damages, and specificall y
                                                                                                               IRPD : 000005 of 000032




        detailing the calculations you used to arrive at those figures.

        ANSWER:



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        INTERROGATORY NO. 8:                   Please describe in complete detail a\I injuries you allegedly




                                                                                                                BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000006 of 000032
        sustained as a result of the January 10, 2017, automobile accident that gave rise to your cause of

        action.

        ANSWER:



        INTERROGATORY NO. 9:                   Please identify each and every doctor, chiropractor, or other

        individual engaged in the healing arts that you have seen for the alleged injuries you suffered as a

        result of the January 10, 20 17, motor vehicle accident.

        ANSWER:



        INTERROGATORY NO. 10:                  Please identify each and every doctor, hospital, chiropractor,

        or other individual or entity engaged in the healing arts from whom or which you have received

        treatment for the past ten ( 10) years. Your answer should include, but not be limited to, the

        following:

                  (a)    the name, address and telephone number of each individual or entity;

                  (b)    the date of each visit;

                  (c)    the reason for each visit;

                  (d)    a detailed description of the diagnosis that was made, if any; and

                  (e)     the prognosis, stated in detail, that you received.

        ANSWER:
                                                                                                                IRPD : 000006 of 000032




        INTERROGATORY NO. 11:                      Please identify each and every therapist, psychotherapist,

        psychologist. psychiatrist, counselor, or other individual or entity engaged in the mental health



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        profession from whom or which you have received treatment for the past ten (10) years. Your




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        answer should include, but not be limited to, the following:

                (a)     the name, address. and telephone number of each individual or entity;

                (b)     the date of each visit;

                (c)     the reason for each visit;

                (d)     a detailed description of the diagnosis that was made, if any; and

                (e)     the prognosis, stated in detail, that you received .

        ANSWER:



        INTERROGATORY NO. 12:                  Please identify each and every phamrncy where you have had

        a prescription filled in the last ten ( 10) years.

        ANSWER:



        INTERROGATORY NO. 13:                     Please describe in detail each and every injury, illness,

        sickness, or other medical condition that you have suffered prior to the January I 0, 2017, motor

        vehicle accident that gave rise to your cause of action.

        ANSWER:



        INTERROGATORY NO. 14:                   Please identify each and every employer you have had for the

        past ten (10) years. Your answer should include, but not be limited to. the fol lowing:

                (a)      the name, address and telephone number of each employer:
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                 (b)     a description of the type of work you performed for the employer:




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                (c)     the name, address, and telephone number of your immediate supervisor for each




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                        employer;

                ( d)    the length of time you worked for each employer; and

                (e)     the date you left the employer and the reason(s) fo r leaving.

        ANSWER:



        INTERROGATORY NO. 15:                Please state whether you have ever been injured on the job. lf

        your answer is ··Yes:' please state whether you fil ed a workers' compensati on c laim. giving the

        date such claim was filed, the workers· compensation case number, and the name and address of

        the attorney who assisted or filed the claim .

        ANSWER:



        lNTERROGATORY NO. 16:                 If you were working at the time of the January 10. 20 17, motor

        vehicle accident which gave rise to your cause of action. please identify your employer, your rate

        of pay, and state whether you have been caused to miss work, giving the number of days missed .

        ANSWER:



        INTERROGATORY NO. 17:                Please state whether you were using your cellular phone at the

        time of the motor vehicle accident. If your answer is yes, please state the nan1e and address of your

        cell phone provider, the name and address o f the account holder, the account number. and your

        cell phone number.
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        ANSWER:




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        TNTERROGATORY NO. 18:                 Please identify each and every individual you intend to call as




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        a witness at the trial of this matter, giving a brief synopsis of the testimony you expect to elicit

        from each.

        ANSWER:



        INTERROGATORY NO. I 9:                With respect to any and all persons with whom you have

        consulted or may call as experts to give opi nion testimony, medical or otherwise, at the tria l of this

        matter, please state the following:

                (a)     their names and business addresses:

                (b)     the field(s) in which the witnesses are to be offered as experts:

                (c)     the substance of the facts to which the witnesses are expected to testify; and

                (d)     the substance of the opinions and the grounds for each opinion to which the

                        witnesses are expected to testify.

        ANSWER:



        INTERROGATORY NO. 20:                 P lease state whether you have ever been a party to a lawsuit

        before. If your answer is yes, please provide the fo llowing information:

                (a)     the date the case was filed;

                (b)     a description of the claims that were made;

                (c)     the reason why suit was filed (slip and fall, motor vehicle accident, etc.):

                (d)     a description of the types of injuri es alleged in each suit;
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                (e)     the name and address of the attorney( s) who represented you;

                (f)     the disposition of the suit; and



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                (g)    the sum you received if there was a monetary settlement.




                                                                                                             BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000010 of 000032
        ANSWER:



        INTERROGATORY NO. 21:              Please sign the attached Authorization for Disclosure of

        Protected Health Informati on, Workers' Compensation Records Authorization, Employment

        Records Authorization, PIP Records Authorization, Cell Phone Records Release Authorization,

        Medicare Records Authorization, Social Security Records Authorization, and Tax Return

        Authorization and return them with your Answers to these Interrogatories.

        ANSWER:



        INTERROGATORY NO. 22:              Please identify each and every collateral source payor that has

        made any payment on your behal f_ medical or otherwise, due to the January I 0, 2017, motor

        vehicle accident that gave rise to your cause of action. This Interrogatory includes, but is not

        limited to:

                (a)    any payments made by an insurance company pursuant to basic reparations

                       benefits;

                (b)    any payments made by a health insurance company;

                (c)    any payments made by Medicare, Medicaid, or any other government-sponsored

                       program; and

                (d)    any other payments made by any other collateral source payor.

        For any identified collatera l source payer, please give the date of each payment, the amount, and
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        identi fy each payee.

        ANSWER:



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        INTERROGATORY NO. 23:                      If any of the expenses you have incurred as a result of the




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        incident have been paid by Medicare, please state:

                (a)    your Medicare Health Insurance C laim Number (HICN) (the number on your

                        Medicare    card)~   and

                (b)     if you are currently enrolled in Part "A" only or in Part "B" o f Medicare. the date

                       your eligibility began.

        ANSWER:



        INTERROGATORY NO. 24:                       Please state whether you have made any financial agreement

        with any medical provider or received any financial benefits from any medical provider for

        treatment in exchange fo r any interest in the outcome of your claim which is the subject matter of

        this litigation. If your answer is "yes," please state the name of each and every entity you have

        made such an agreement with, including, but not limited to, the name of the representative of that

        entity with whom you made the agreement, the terms of the agreement. and also please provide a

        copy of the loan agreement.

        ANSWER:



        INTERROGATORY NO. 25:                      If any info1mation, statement, document, video, audio, photo.

        tape-recording, or information retained by any other means of tangibl e data compilation is

        w ithheld from your responses to any of these lnterrogatories or Requests for Production of

        Documents, due to a claim of privilege, work-product. a civil rule, or any other reason, please state
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        with specificity the reason for withholding the information, and state the nature of the information




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        not provided and not produced, describing the information to the fullest extent possible that will




                                                                                                                   BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000012 of 000032
        enable this party to assess the applicabi lity of the privilege or protection.

                If you refuse to respond fully to this lnterrogatory. please specifical ly state that you are

        refusing to respond and give a full explanation.

        ANSWER:



        INTERROGATORY NO. 26:                 For every bit of information, any statement, document video,

        audio, photo. tape-recording and/or information retained by any other means of tangible data

        compilation that has been requested in these Interrogatories or Req uests fo r Production of

        Documents sent contemporaneously he rewith but:

                (a)     has at one time been in the possession of the Plaintiffs or their counsel, but no longer

                        is in their possession; or

                (b)     has been sent, transferred, or for w hatever reason is now in the possession of

                        someone other than the Plainti ffs and/or their counsel: or

                (c)     has been destroyed. lost, misplaced. or is otherwise not now in the possession of

                        Plaintiffs and/or their counsel,

        state the nature of the infom1ation not provided and not produced, descri bing the in format ion to

        the fu llest extent possible. and ident ify all individuals involved in creating, receiving. and/or

        witnessing the communication, giving all dates, and describing in detail the subj ect matter of the

        information or communication.

                For all information that is responsive to this Interrogatory, please identi fy all individuals
                                                                                                                   IRPD : 000012 of 000032




        involved in creating, receiving and witnessing the communication, giving all dates, and descri bing

        in detail the subject matter of the info rmation or communication .



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                If you refuse to respond fully to this Interrogatory, please specifically state that you are




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        refusing to respond and give a full explanation.

        ANSWER:




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                                                  VERIFICATION




                                                                                                             BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000014 of 000032
                I have read the foregoing Answers to Interrogatories and the information contained therein

        is true and correct to the best of my knowledge and belief.




                                                     Jerry Wi lson


        STATE OF _ _ _ _ _ _ )
                             (SCT.
        COUNTY OF~~~~~.)


                Subscribed and sworn to before me by --~
                                                       Je=-rry=-.J--W~il=-so=n~_ on this the ___ day of


        - - -- - -' 20 18.
                My commission expires: _ _ __ __ _




                                                      NOTARY PUBLIC, STATE-AT-LARGE




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                            REQUEST FOR PRODUCTION OF DOCUMENTS




                                                                                                               BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000015 of 000032
        REQUEST NO. 1:         If you, or anyone acting on your behalf, have obtained any written. typed,

        recorded, transcribed statements. or information obtained through any other means of tangible data

        compilation, from any witness or individual, please produce same for inspection and copying.

        RESPONSE:



        REQUEST NO. 2:          If you, or anyone acting on your behalf, have obtained any photographs,

        videos, or other information retained by any other means of tangible data compilation, with regard

        to the January 10, 2017, motor vehicle accident please produce same for inspection and copying.

        RESPONSE:



        REQUEST NO. 3:          If you have incurred any medical, doctor, chiropractic, or miscellaneous

        bills and expenses as a result of the January 10, 20 17. motor vehicle accident, please produce same

        for purposes of inspection and copying.

        RESPONSE:



        REQUEST NO. 4:           If any payments have been made on your behalf by Medicare. Medicaid,

        or any other government-sponsored program, please produce for inspection and copying any

        documents related to such payments, a payment summary form, and a Conditional Payment letter

        from the Medicare Secondary Payer Recovery Contractor (MSPRC).

        RESPONSE:
                                                                                                               IRPD : 000015 of 000032




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        REQUEST NO. 5:              For each expert, medical or otherwise, that you have identified. please




                                                                                                                BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000016 of 000032
        produce for inspection and copying a copy of the witnesses' curriculum vitae or statement of

        qualifications.

        RESPONSE:



        REQUEST NO. 6:              If you have received from any of said expert witnesses a written report,

        please produce same for purposes of inspection and copying.

        RESPONSE:



        REQUEST NO. 7:             If you, or anyone acting on your behalf, have obtained any written, typed,

        recorded, transcribed statements, or information obtained through any other means o f tangible data

        compilation, from the Defendants, their agents, representatives or employees, please produce san1e

        for inspection and copying.

        RESPONSE:



        REQUEST NO. 8:              Please produce for inspection and copying your state and federal income

        tax returns for the last five (5) calendar years.

        RESPONSE:



        REQUEST           0 . 9:    With regard to the amounts you are claiming for each item of damages

        alleged in your Complaint, please produce for inspection and copying a copy of the calculations
                                                                                                                IRPD : 000016 of 000032




        used to arrive at each figure.

        RESPONSE:



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        REQUEST NO. JO:             Please produce a photocopy of your driver's license or valid identification




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        card.

        RESPONSE:



        REQUEST NO. 11:             Please produce a photocopy of yo ur Medicare and/or Medicaid card.

        RESPONSE:



        REQUEST NO. 12:              Please produce a photocopy of your Social Security card.

        RESPONSE:



        REQUEST NO. 13:             Please produce for inspection and copying any and all medical reports,

        medical records and treatment notes from all of your treating and examining physicians,

        chiropractors, or other indi viduals engaged in the healing arts.

        RESPONSE:



        REQUEST NO. 14:             Please produce all correspondence between you and Medicare, including,

        its agents, the Centers for Medicare and Medicaid Services (CMS), the Medicare Coordination of

        Benefits Contractor (COBC), and/or the Medicare Secondary Payer Recovery Contractor

        (MS PRC) since the date of the motor vehicle accident which is the subject matter of this litigation.

        RESPONSE:
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        REQUEST NO. 15:             Please produce a complete payment hj story for all medical claims




                                                                                                                 BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000018 of 000032
        submitted to Medicare regarding treatments and/or coverages since the date of the motor vehicle

        accident which is the subject matter of tills litigation.

        RESPONSE:



        REQUEST NO. 16:             Please produce a photocopy of yow- cell phone billing statement for the

        date of the accident, listing the itemized call s for the date and time of the motor vehicle accident.

        RESPONSE:



        REQUEST NO. 17:             Please produce a signed and notarized copy of the attached Protected

        Health Information Release.

        RESPONSE:



        REQUEST NO. 18:              Please produce a signed and notarized copy of the attached Workers'

        Compensation Release.

        RESPONSE:



        REQUEST NO. 19:             Please produce a signed and notarized copy of the attached Employment

        Records Release.

        RESPONSE:
                                                                                                                 IRPD : 000018 of 000032




        REQUEST NO. 20:              Please produce a signed and notarized copy of the attached PIP Records

        Release Authorization.



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        RESPONSE:




                                                                                                             BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000019 of 000032
        REQUEST NO. 21:            Please produce a signed and notarized copy of the attached Cell Phone

        Records Release Authorization.

        RESPONSE:



        REQUEST NO. 22:           Please produce a signed and notarized copy of the attached Medicare and

        Medicaid Authorization.

        RESPONSE:



        REQUEST NO. 23:         Please produce a signed and notarized copy of the attached Social Security

        Records Release.

        RESPONSE:



        REQUEST NO. 24:            Please produce a signed and notari zed copy of the attached Tax Return

        Authorization.

        RESPONSE:



        REQUEST NO. 25:            Please produce each and every document you rely upon to support your

        answers to these Interrogatories.

        RESPONSE:
                                                                                                             IRPD : 000019 of 000032




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                                                                               Respectfull y submitted,




                                                                                                                          BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000020 of 000032
                                                                               WMRDEFENSE

                                                                               I s I Tamara J. Patterson

                                                                               Melissa Thompson Richardson
                                                                               Tamara J . Patte rson
                                                                               77 1 Corporate Drive, Suite 900
                                                                               Lexington, Kentucky 40503
                                                                               Telephone: (859) 2 19 -9090
                                                                               Facsimile: (859) 219-9292
                                                                               COUNSEL FOR DEFENDANTS




                                                                  CERTIFICATE OF SERVICE

                     This is to certify that the foregoing has been served on this the 12th day of September, 201 8,

        by mailing and/or emailing a true and accurate copy to the following:

         Robert L. Poole
         2656 Crescent Springs Road
         Sujte I
         Covington, KY 41017
         Counsel for Plaint[ff

                                                                               I s I Tamara J Pallerson

                                                                               COUNSEL FOR DEFENDANTS


        7202 00~993C INRPor1bl Golden and_ Waltersl AUBREY\<J IOO l I I doc'




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                                 Authorization for Disclosure of Protected Health Information




                                                                                                                                      BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000021 of 000032
        PATIENT:

        ADDRESS:



        DOB:

        SSN:



        J,                                . authorize the disclosure of my protected hea lth information' as
        described herein . I understand that th is authorization is volu ntary a nd made to confi rm my direction. I
        understand that, if the person(s) or organization(s) that I authorize to receive my protected health
        information is/are not subject to federal and state health information privacy laws2, subsequent disclosure
        by such person(s) or organization(s) may not be protected by those laws.

        I.         I a uthorize the fo llowing person(s) and/o r organization(s) to disclose my protected health
                    information (as specified below):




        1 Protected health information ("PHI'.) is health in formation that is created or received by a health care provider,
        health plan, or health care clearinghouse and which relates to: I) the past, present. or future physical or mental
        health or condition of an individual ; 2) the provision of health care to an individual; or 3) the past, present, or future
        payment for the provision of health care to an individual. To be protected, the information must be such that it
        identi fies the individual or provides a reasonable basis to believe that the information can identify the individual. 45
        C.F.R. 164.508. PH I includes information of and/or on persons living or deceased. The fo llowing components of a
        patient' s information are also considered PHI: a) names; b) street address, city, county, precinct, zip code: c) dates
        directly related to a patient, including birth date, admission date, discharge date. and date of death; d) telephone
                                                                                                                                      IRPD : 000021 of 000032




        numbers, fax numbers and electronic mai l addresses; e) Social Security numbers; f) medical record numbers; g)
        health plan beneficiary numbers; h) account numbers; i) certificate/license numbers; j) vehicle identifiers and serial
        numbers; including license plate numbers; k) device identifiers and serial numbers; I) Web Universal Resource
        Locators (URL's); m) biometric identifiers, including finger and voice prints: n) full face photographic images and
        any comparable images; and o) any other unique identifying number, characteristic, or code.
        2   These laws apply to health plans, health care providers, and health care clearinghouses.


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        2.      I authorize the fo llowing person(s) and/or organ ization(s) to receive protected health




                                                                                                                           BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000022 of 000032
                infonnation, as disclosed by the person(s) and/or organization(s) above:

                Any attorney or paralegal in the law firm of WMR Defense, Corporate Plaza, 771 Corporate
                Drive, Suite 900, Lexington, Kentucky 40503 .

        3.      Specific description of the protected health infom1ation that I authorize for disclosure:

                T he entirety of all medica l records; Inc ludi ng. but not limited to: radiographic re ports, charts,
                doctors' reports and records, office notes and memoranda, medical reports, radiology reports,
                radiology images, con ultations, physical therapy records, c linic a nd outpatient reports and charts,
                psychotherapy notes, operative reports, phannace utical records. reports. charts, summaries, bills,
                and correspondence of whatever ki nd and nature regard ing any and all prescription and non-
                prescri ption medication prescribed or dispensed to me, and any and all medical information or
                other infomrntion concerning or re lati ng to my care, diagnosis, treatment, and/or hospitalization.
                Th e scope of this autho r izatio n s pecifically includes the release of any protected health
                information concerning t reat m ent, diagnosis, or testing of d rug or a lco hol ab use, drug
                related     conditions,   alco holism,     psychia tric/ psychological    condi tions,    behavio ra l
                services/ psychiatric care, Acq uired Immune Deficiency Syndrome (AIDS) a nd/or tests for
                antibod ies to the AIDS virus (HlV). The records shal l include all records for treatment at any
                time, for any reason, not just for current treatme nt. The records shall contain all bills, invoices,
                insurance claims forms. and a printout of any com puterized records of that infonnation for
                treatment, together with all records of any payments, write-offs, or adjustments of charges for
                care, diagnoses, treatment. or hospitalization. If the bill was discounted or the hospital. doctor or
                phannacy was paid a sum less than the full amount of the bill, records of the discount shall be
                produced.

        4.      Specific description of the purpose for each use or disclosure:

                At the request of the individual.

        5.      I unde rsta nd thi s Authorizat ion can be revoked at any time. Such revocation must be submitted to
                the providers named herein in writing. T he revocation shall be effective except to the extent that
                the providers have al ready used or d isclosed information in reliance o n the Authorization. Patient
                may revoke this Authorization by contacting the provide rs named herein. I hereby acknowledge
                that I unde rstand and that I do not have to s ign this authorization and that treatment, payment,
                e nro llment in any health plan, or e lig ibi lity for bene fits is not conditioned on or affected by my
                sign ing this A uthorization. I have been informed and understand that infonnation used or
                di sclosed pursuant to this Authorization may be subject to re-d isclosure by the recipient o f such
                infom1ation, and, at that point. the information may be no longer protected under the terms of this
                agreement or federal o r state privacy laws. I agree to hold the providers named herein. their
                affiliates, agents, representatives, officers and directors, employees and attending physicians
                harmless from and against any and all liabi lity or claims arising out of any release of authorized
                information or against any republication by third parties after such release.
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        6.      This authorization expires upon fina l adjudication of litigation currently pending in Scott C ircuit




                                                                                                                         BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000023 of 000032
                Court, Division I, styled. "Jerrv Wilson v. On The Spot Trucking, lnc. and James Shearer.'· Case
                No. I 8-Cf-00325 , or when revoked in writing.

        7.      Copies of this Authorization will have the same weight as the origina l.

        I have had the opportunity to read and consider the contents of this authorization. I confirm that the
        contents are consistent with my direction .




                                                          Date


        STATE OF _ _ __ _ __ _ _)
                                (SCT.
        COUNTY OF _ _ _ _ __ __ )


                Subscribed and sworn to before me by _ _ __ _ _ __ to be his/her own free act and deed

        on this _ _ _ _ day of _ __ _ _ _ _ 201 8.

                My commission expires: _ __ _ _ _ _ __ __ _




                                                          NOTARY PUBLIC




                                                                                                                         IRPD : 000023 of 000032




                                                              3

                                                                                                            (Initials)
Filed                 18-CI-00325      09/12/2018                 Karen Boehm, Scott Circuit Clerk
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                WORKERS COMPENSATION RECORDS RELEASE AUTHORIZATION




                                                                                                             BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000024 of 000032
        NAME:

        DOB:

        SS#:


        TO WHOM IT MAY CONCERN:

                L ________ .hereby authorize you to release any and all information contained

        in your files relating to Worker' s Compensation benefit claims made by me, benefits paid to me,

        correspondence to me or relating to any claims made by me or benefits paid on my behalf, and any

        and all other records retained by the Worker's Compensation Commission of whatever kind and

        nature to any attorney or paralegal in the law firm of WMR Defense, Corporate Plaza, 771 Corporate

        Drive, Suite 900, Lexington, Kentucky 40503. Copies of this Authori zation will have the same

        weight as the original.

                Dated this _ _ day of _ _ _ _ _ _, 20 18.




        STATE OF KENTUCKY                    )
                                             (SCT.
        COUNTY OF~~~~~~ )

                Subscribed and sworn to before me by _ _ _ _ _ _ _ _ to be her own free act and

        deed on this ____ day of _ _ __ ___ 20 18.

                My commission expires: _ _ _ _ _ _ _ _ __
                                                                                                             IRPD : 000024 of 000032




                                                     NOTARY PUBLIC




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                        EMPLOYMENT RECORDS RELEASE AUTHORIZATION




                                                                                                                BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000025 of 000032
        TO WHOM IT MAY CONCERN:




        NAME:
        D/O/B:
        SS#



                 I, _ _ _ _ _ _ _, hereby authorize you to release any and all information contained

        in your files concerning my employment, including personnel files, income and benefits records,

        correspondence, and any and all other employment records of whatever kind and nature to any

        attorney or paralegal in the law firm of WMR Defense, Corporate Plaza,771 Corporate Drive, Suite

        900, Lexington, Kentucky 40503. I also authorize you to discuss with any attorney or paralegal in

        the law firm of WMR Defense my employment with you.

                 Copies of this Authorization will have the same weight as the original.

                 Dated this _ _ day of _ _ _ _ __            20 18.


                                                      NAME

        STATE OF KENTUCKY    )
                             ) SCT.
        COUNTY OF _ _ __ ____,

                 Subscribed and sworn to before me by _ _ _ _ __ _            to be hi s/her own free act and
                                                                                                                IRPD : 000025 of 000032




        deed on this _ _ __ day of _ _ __ _ _ _ 2018.

                 My commission expires: _ _ _ __ __ _ _ __ _



                                                       NOTARY PUBLIC. STATE-AT-LARGE


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                                 PIP RECORDS RELEASE AUTHORIZATION




                                                                                                                    BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000026 of 000032
        INSURED:

        ADDRESS:



        DOB:

        SSN:



        TO _ _ _ _ __ _ _ __                     INSURANCECOMPANY:

                I, _ _ _ _ _ _ _ _ _ _, hereby authorize you to release all information, includ ing all

        records, reports. charts, findings. summaries, and correspondence of whatever ki nd and nature

        regarding the subm ission, processing, payment and/or maintenance of Personal Inj ury Protection (PlP)

        benefits made on my behalf. past or present, to any attorney or paralega l in the law firm of WMR

        Defense, Corporate Plaza, 771 Corporate Drive. Suite 900, Lexington, Kentucky 40503. I also

        authorize you to discuss freely and render written opinions to any attorney or paralega l in the law firm

        of WMR Defense concerning your involvement in same.

                Copies of this Authorization wi ll have the same weight as the original.

                Dated this _ _ day of _ __ _ _ __ 20 18.



                                                        NAME

        STATE OF KENTUCKY                       )
                                                (SCT.


                Subscribed and sworn to before me by ___________ to be his/her own free
                                                                                                                    IRPD : 000026 of 000032




        act and deed on this ____ day of _ __ _ _ _ _ 2018.

                My comm ission expires: _ _ _ _ __ _ __ _ __



                                                        NOTARY PUBLI C

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                                 CELL PHONE RECORDS RELEASE AUTHORIZA Tl ON




                                                                                                                        BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000027 of 000032
        NAME:
                    -------------
        ADDRESS:~~~~~~~~~-
        DOB:~~~~~~~~~~~~
        SSN:~~~~~~~~~~~-

        TELEPHONE N O . : - - -- - - - - -

                   I, _ _ _ _ _ _ _ _ _, hereby authorize _ __ __ _ to release all information,

        including all records, contract information, incoming calls, outgoing calls, billing statements,

        payment history. and any and all other information, to any attorney or paralegal in the law firm

        of WMR Defense. Corporate Plaza, 771 Corporate Drive, Suite 900, Lexington, Kentucky 40503.

        I also authorize you to discuss freely and render written opinions to any attorney or paralegal in

        the law firm of WMR Defense concerni ng your involvement in same.

                   Copies of this Authorization wi ll have the same weight as the original.

                   Dated this _ _ day of _ _ _ _ _ _ _ 20 18.



                                                                                 NAME


        STATE OF KENTUCKY                                                        )
                                                                                 (SCT.
        COUNTY OF_~~~~~~~)

                   Subscribed and sworn to before me by _ _ _ _ _ _ to be his/her own free act and

        deed on this _ _ _ _ day of _ _ _ _ _ _ _ 20 18.

                   My commission expires: _ _ _ __ _ _ _ _ _ __
                                                                                                                        IRPD : 000027 of 000032




                                                                                 NOTARY PUBLIC, STATE-AT-LARGE, KY.


        O IFom1s[ Paralegal )NEW CellPhoneRecsl IaCellPhoneRecordsReleasc .doc




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FiledCase:            18-CI-00325 09/12/2018          Karen Boehm, Scott Circuit
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                1-800-MEDICARE Authorization to Disclose Personal Health Information




                                                                                                                    BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000028 of 000032
         Use this form if you want 1-800-MEDICARE to give your personal health information to
         someone other than you.


        I. Print Name                                      Medicare Number                         Date of Birth
           (First and last name of the person with Medicare) (Exactly as shown on the Medicare Card) (mm/dd/yyyy)


        2. Medicare will on ly disclose the personal health information you want disclosed.

          2A: Check only one box below to tell Medicare the specific personal health
           information you want disclosed:

               D Lim ited Information (go to question 2b)

               D Any Information (go to question 3)


           28: Complete only if you selected "limited information". Check all that apply:

               D Information about your Medicare eligibi lity

               D Information about your Medicare claims

               D Information about plan enro llment (e.g. drug or MA Plan)

               D Information about premium payments

               D Other Specific Information (p lease write below; for example, payment information)




        3. Check only one box below indicating how long Medicare can use this authorization
           to disclose your personal health information (subject to applicable law-for example,
           your State may limit how long Medicare may g ive out your personal health information):

           D Disclose my personal health information indefinitely
                                                                                                                    IRPD : 000028 of 000032




           D Disclose my personal health information for a specified period only
               beginning: (mm/dd/yyyy)                          and ending: (mm/dd/yyyy) _ _ __ _




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        4. Fill in the name and address of the person(s) or organization(s) to whom you want
           Medicare to disclose your personal health information. Please provide the specific
           name of the person(s) for any organization you list below:




                                                                                                                                                  BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000029 of 000032
             1. Name :

                Address:


             2. Name:

                Address:


             3. Name :

               Address:



        5.
              I authorize 1-800-MED ICA IU: to disclose my personal health information listed above to the person(s) or organization(s) I
              have named on this form. I understand that my personal health information may be re-disclosed by the person(s) or
              organization(s) and may no longer be protected by law. I understand that I have the right to re,·oke this authorization at
              ony time. I must do so b) writing to the ~a me person(s) or clas~ of persons that I directed th i_~ authorization to. The
              revocation will not apply to information that bas already been r eleased in response to this authorization. I unde~t a nd that
              my refusal to a utbori1.:e disclosure of m~ personal medical informa tion will ha, •e no effect on my enrollment, eligibilit) for
              benefits, or the amount J\lcdicare pa~~ for health sen ices I receh e.



                Signature                                           Telephone Number                             Date (mm/dd1) yyy) Print

                the address of the person with Medicare (Street Address. City, State, and ZIP)




                D Check here if you are signing as a personal representative and complete below.
                     Please attach the appropriate documentation (for example, Power of Attorney).
                     This on ly applies if someone other than the person with Medicare signed above.
                Print the Personal Representative's Address (Street Address, City, State, and ZIP)                                                IRPD : 000029 of 000032




                Telephone Number of Personal Representative:

                Personal Representative's Relationship to the Beneficiary:                                ~~~~~~~~~~-




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                                                                                 46 - Page ID#: 44
Social Security Administration
                                                                                                              Form Approved
Consent for Release of Information                                                                            OMB No. 0960-0566
You must complete all required fields. We will not honor your request unless all required fields are completed. (*signifies a




                                                                                                                                   BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000030 of 000032
required field) .
TO: Social Security Administration


               *My Full Name                             *My Date of Birth                    *My Social Security Number
                                                           (MM/DDNYYY)
I authorize the Social Security Administration to release information or records about me to:
*NAME OF PERSON OR ORGANIZATION :                                    *ADDRESS OF PERSON OR ORGANIZATION :
Any attorn ey or paralegal in the law firm of                         771 Corpora te Drive, Suite 900
WMR Defense                                                          Lexington, Kencucky 40503


*I want this information released because: Litigation Matter
 We may charge a fee to release information fo-=-r-n-o-=-
                                                       n--:
                                                         -p-r-og_r_a_m_ p-ur_p_o_s_e_s_- - - - - - - - - - - - - - - - - - - - -




*Please release the following information selected from the list below:
You must specify the records you are requesting by checking at least one box. We will not honor a request for "any and all
records" or "my entire file." Also, we will not disclose records unless you include the applicable date ranges where requested.

1.   ~ Social Security Number
2.   ~ Current monthly Social Security benefit amount
3.   ~ Current monthly Supplemental Security Income payment amount
4.   ~ My benefit or payment amounts from date 1st Appl·    to date Present
5. ~ My Medicare entitlement from date lst Appl· to date Present
6. ~ Medical records from my claims folder(s) from datelst Appl· to date Present
       If you want us to release a minor child's medical records, do not use this form. Instead , contact your local Social
        Security office.
7. [8] Complete medical records from my claims folder(s)
8. ~ Other record(s) from my file (you must specify the records you are requesting, e.g., doctor report, application,
       determination or questionnaire)
        Applications, questionnaires, reports , consulcative examinations, fee agreements,
        explanations, determinations

I am the individual, to whom the requested information or record applies, or the parent or legal guardian of a minor, or
the legal guardian of a legally incompetent adult. I declare under penalty of perjury (28 CFR § 16.41(d)(2004)) that I have
examined all the information on this form, and any accompanying statements or forms , and it is true and correct to the
best of my knowledge. I understand that anyone who knowingly or willfully seeks or obtain access to records about
another person under false pretenses is punishable by a fine of up to $5,000. I also understand that I must pay all
applicable fees for requesting information for a non-program-related purpose.
*Signature:                                                                             *Date:
              ~------------------------~
*Address :
Relationship (if not the subject of the record):                                        *Daytime Phone:
                                                                                                                                   IRPD : 000030 of 000032




                                                                                                           ~--------
Witnesses must sign this form ONLY if the above signa ture is by mark (X). If signed by mark (X), two witnesses to the signing
who know the signee must sign below and provide their full addresses. Please print the signee's name next to the mark (X) on the
signature line above.
 1.Signature of witness                                          2.Signature of witness


Address(Number and street,City,State, and Zip Code)               Address(Number and street,City,State, and Zip Code)

Form SSA-3288 (07-2013) EF (07-2013)
Filed                   18-CI-00325      09/12/2018                 Karen Boehm, Scott Circuit Clerk
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       Form         4506                                            Request for Copy of Tax Return




                                                                                                                                                                               BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000031 of 000032
       (Rev. September 2015)                           .,.. Do not sign this form unless all applicable lines have been completed.                      OMB No. 1545-0429
                                                               .,.. Request may be rejected if the form is incomplete or illegible.
       Department of the Treasury
       Internal Revenue SeNice                           .,.. For more information ab out Form 4506, visit www.irs.gov/form4506.

       Tip. You may be able t_o get your tax return or return information from other sources. If you had your tax return completed by a paid preparer, they
       sho~ld be able to provide yo~ a copy of the. r~tum. The IRS can provide a Tax Return Transcript for many returns free of charge. The t ranscript
       prov'.des most of the line entnes from the original_ tax return and usually contains the information that a third party (such as a mortgage company)
       requires. See Form 4506-T, Request for Transcnpt of Tax Return, or you can quickly request transcripts by using our automated self-help service
       tools. Please visit us at IRS.gov and click on "Get a Tax Transcript..." or call 1-800-908-9946.

            1a Name shown on tax return. if a joint return, enter the name shown first.                       1b First social security number on tax return,
                                                                                                                 individual taxpayer identification number, or
                                                                                                                 employer identification number (see instructions)


            2a if a joint return, enter spouse's name shown on tax return.                                    2b Second social security number or individual
                                                                                                                 taxpayer identification number if joint tax return


            3 Current name, address (including apt. , room, or suite no.), city, state, and ZIP code (see instructions)



            4 Previous address shown on the last return filed if different from line 3 (see instructions)



            5 if the tax return is to be malled to a third party (such as a mortgage company), enter the third party's name, address, and telephone number.



       Caution: If the tax return is being mailed to a third party, ensure that you have filled In lines 6 and 7 before signing. Sign and date the form once you
       have filled in these lines. Completing these steps helps to protect your privacy. Once the IRS discloses your tax return to the third party listed on line
       5, the IRS has no control over what the third party does with the information. If you would like to limit the third party's authority to disclose your return
       information, you can specify this limitation in your written agreement with the third party.

            6       Tax return request ed . Form 1040, 1120, 941 , etc. and all attachments as originally submitted to the IRS, including Form(s) W-2,
                    schedules, or amended returns. Copies of Forms 1040, 1040A, and 1040EZ are generally available for 7 years from filing before they are
                    destroyed by law. Other returns may be availab le for a longer period of time. Enter only one return number. If you need more than one
                    type of return. you must complete another Form 4506 . .,.. - - -- - -- -- - - - - - - -
                    Note: If the copies must be certified for court or administrative proceedings, check here _                                                         0
            7       Year or period requested. Enter the ending date of the year or period, using the mrn/dd/yyyy format. If you are requesting more than
                    eight years or periods. you must attach another Form 4506.




            8       Fee. There is a $50 fee for each return requested. Full payment must be included with your request or it will
                    be rejected. Make your ch eck or money order payable to " United States Treasury." Enter your SSN , ITIN,
                    or EIN and " Form 4506 request" on your chec k or money order .
                a   Cost for each return      .                                                                                                $             50.00
                b   Number of returns requested on line 7 .
                c   Total cost. Multiply line 8a by line 8b                                                                                    s
            9       If we cannot find the tax return, we will refund the fee. If the refund should go to the third party listed on line 5, check here                   0
       Caution: Do not sign this form unless all ap plicable lines have been completed.
       Signature of taxpayer(s). I declare that I am either the taxpayer whose name Is shown on line 1a or 2a, or a person authorized to obtain the tax return
       requested. If the request applies to a joint return, at least one spouse must sign. If signed by a corporate officer, 1 percent or more shareholder, partner,
       managing member, guardian, tax matters partner, executor. receiver. administrator, trustee, or party other than the taxpayer, I certify that I have the authority to
       execute Form 4506 on behalf of the taxpayer. Note: For tax returns being sent to a third party, this form must be received within 120 days of the signature date.
                                                                                                                                                                               IRPD : 000031 of 000032




       O        Signatory attests that he/she has read the attestation clause and upon so reading
                declares that he/she has the authority to sign the Form 4506. See instructions.                                       Phone number of taxpayer on line
                                                                                                                                      1a or 2a


       Sign            ~ Sign ature (see 1nstruct1ons)                                                     Date
       Here
                       ~ Title (1f line 1a above 1s a c0<porat1on , partnership. estate, 0< trust)
                       ~ Spouse's signature                                                                Date

       For Privac y A ct and Paperwork Reduc t ion Ac t No tice, see p age 2.                                Cat. No. 41721E                       Form   4506 (Rev. 9-2015)
    Filed                              18-CI-00325                09/12/2018                         Karen Boehm, Scott Circuit Clerk


~
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   Form 4506 (Rev. 9-2015)                                                                                                                                                 Page   2
   Section references are to the Internal Revenue Code          Chart for all other returns                                   Corporations. Generally, Form 4506 can be




                                                                                                                                                                                       BAB1A7DC-08A3-471F-8CFF-939057C6A710 : 000032 of 000032
   unless otherwise noted.                                                                                                 signed by: (1) an officer having legal authority to bind
                                                                If you lived in                                            the corporation, (2) any person designated by the
   Future Developments                                          or your business              Mail to:                     board of directors or o ther governing body, or (3)
  For the latest 1nformat1on about Form 4506 and its            was in:                                                    any ott1cer or employee on wntten request by any
                                                                                                                           pnnc1pal officer and attested to by the secretary or
  instructions, go to www.irs.gov/form4506.
                                                                Alabama, Alaska,                                           other officer. A bona fide shareholder o f record
  Information about any recent developments affecting
                                                                Arizona, Arkansas.                                         owning 1 percent or more of the outstanding stock
  Form 4506. Form 4506-T and Form 4506T-EZ will be
                                                                California. Colorado.                                      of the corporation may submit a Form 4506 but must
  posted on that page.
                                                                Florida. Hawaii. Idaho.                                    provide documentation to support the requester's
                                                                                                                           right to receive the information.
   General Instructions                                         Iowa. Kansas, Louisiana,
                                                                Minnesota, Mississippi,                                      Partnerships. Generally. Form 4506 can be
   Caution: Do not sign this form unless all applicable         M 1ssoun, Montana,                                         signed by any person who was a member of the
   lines have been completed.                                   Nebraska. Nevada.                                          partnership during any part of the tax period
   Purpose of form . Use Form 4506 to request a copy            New Mexico,                                                requested on line 7.
                                                                                              Internal Revenue Service
   of your tax return. You can also designate (on line 5)       North Dakota,                                                All others. See section 6103(e) 1f the taxpayer has
                                                                                              RAIVSTeam
   a third party to receive the tax return.                     Oklahoma. Oregon.                                          died, 1s insolvent, 1s a dissolved corporation. or if a
                                                                                              P .O Box9941
                                                                South Dakota. Texas.
   How long will it take? It may take up to 75                                                Mali Stop 6734               trustee, guardian, executor. receiver, or
                                                                Utah, Washington,
   calendar days for us to process your request.                                              Ogden, UT 84409              administrator is act ing for the taxpayer.
                                                                Wyoming, a foreign
   Tip. Use Form 4506-T. Request for Transcript of T ax         country, American                                          Nole: If you are Heir at law. Next of kin, or
   Return, to request tax return transcnpts, tax account        Samoa, Puerto Rico.                                        Beneficiary you must be able to establish a material
   information, W-2 information, 1099 information,              Guam. the                                                  interest in the estate or trust.
   verification of nonfiling, and records of accou nt.          Commonwealth of the                                        D ocumentation. For entitles other than md1v1duals,
                                                                Northern Mariana                                           you must attach t he authorization document. For
   Automated transcript request. You can quickly
                                                                Islands, the U .S . Virgin                                 example. this could be the letter from the principal
   request transcripts by using our automated self-help
                                                                Islands, or A.P.O. or                                      officer authorizing an employee of the corporation or
   servtce tools. Please v1s1t us at IRS.gov and click on       F.P.O. address
   "Get a Tax Transcript..." or call 1-800-908-9946.                                                                       the letters testamentary authonzmg an lnd 1v1dual to
                                                                                                                           act for an estate,
   Where to file. Attach payment and mail Form 4506             Connecticut, Delaware,
                                                                Distnct of Columbia,                                       Signature by a representative. A representative
   to the address below for the state you lived in, or the
                                                                Georgia, Illinois, Indiana.                                can sign Form 4506 for a taxpayer only 1f this
   state your business was in. when that return was
                                                                Kentucky, Maine,                                           authority has been specifically delegated to the
   flied . There are two address charts: one for
                                                                                                                           representative on Form 2848, line 5. Form 2 848
   1nd1v1dual returns (Form 1040 senes) and one for all         Maryland ,
                                                                                                                           showmg the delegation must be attached to Form
   other returns.                                               Massachusetts,                Internal Revenue Service
                                                                Michigan, New                                              4506.
       If you are requesting a return for more than one                                       RAIVS Team
                                                                Hampshire, New Jersey.        P.O. Box 145500
   year or period and the chart below shows two                                                                            Privacy Act and Paperwork Reduction A c t
                                                                New York. North               Stop 2800 F
   d 1tterent addresses, send your req uest to the                                                                         Notice. We ask for the informatJOn on this form to
                                                                Carolina,                     Cincinnati, O H 45250
   address based on the address of your most recent                                                                        establish your right to gain access to the requested
                                                                Ohio. Pennsylvania,
   return.                                                                                                                 return(s) under the Internal Revenue Code. We need
                                                                Rhode Island, Sou th
                                                                Carolina, Tennessee.                                       this information to properly 1dent1fy the return(s) and
   Chart for individual returns                                 Vermont. Virginia, West                                    respond to your request. If you request a copy of a
   (Form 1040 series)                                           Virg1ma. Wisconsin                                         tax return, sections 6103 and 6109 require you to
                                                                                                                           provide this information, mclud1ng your SSN or EIN .
   If you filed an                                                                                                         to process your request. If you do not provide this
   individual return             Mall to:
   and lived in:
                                                                Specific Instructions                                      1nformat1on, we may not be able to process your
                                                                                                                           request. Providing false or fraudulent information
                                                                Line 1b. Enter your employer 1dent1ficat1on number         may sub1ect you to penalties.
   Alabama. Kentucky,                                           (EIN) if you are requesting a copy of a business
   Louisiana, Mississippi.                                                                                                     Routine uses o f this information mclude giving it to
                                                                return. Otherwise, enter the first social security
   Tennessee, Texas. a                                                                                                     the Department of Justice for c ivil and criminal
                                                                number (SSN) or your 1nd1v1dual taxpayet
   foreign country, American     Internal Revenue Service                                                                  litlgat1on. and cities. states. the Olstnct of Columb ia,
                                                                identification number (ITIN) shown on the return. For
   Samoa, Puerto Rico,           RAIVSTeam                                                                                 and U.S. commonwealths and possessions for use
                                                                example. if you are requesting Form 1040 that
   Guam, the                     Stop 6716 AUSC                                                                            in administering their tax laws. We may also
                                                                includes Schedule C (Form 1040), enter your SSN .
   Commonwealth of the           Austin, TX 73301                                                                          d isclose this information to other countries under a
   Northern Marlana Islands,                                    Line 3. Enter your current address. If you use a P.O .     tax treaty. to federal and state agencies to enforce
   the U.S. Virgin Islands, or                                  box. please includ e it on this hne 3.                     federal nontax crim inal laws, or to federal law
   A.P.O. or F.P.O. address                                     Line 4. Enter the address shown on the last return         enforcement and intelligence agencies to combat
                                                                filed 1f different from the address entered on line 3.     terronsm.
   Alaska. Arizona,                                                                                                          You are not required to provide the information
   Arkansas. California,                                        Note: If the addresses on tines 3 and 4 are different
                                                                and you have not changed your address with the             requested on a form that 1s subject to the Paperwork
   Colorado. Hawaii. Idaho.                                                                                                Reduction Act unless the form displays a valid OMB
   Illinois, Indiana, Iowa,                                     IRS, file Form 8822. Change of Address. For a
                                                                business address, file Form 8822-B . Change of             control number. Books or records relat ing to a form
   Kansas, Michigan,             Internal Revenue Service
                                                                Address or Responsible Party - Business.                   or rts instructions must be retained as long as their
   Minnesota, Montana,           RAIVSTeam
                                                                                                                           contents may become matenal 1n the administration
   Nebraska, Nevada. New         Stop 37106                     Signature and d ate. Form 4506 must be signed and          of any Internal Revenue law. Generally, tax returns
   Mexico, North Dakota.         Fresno, CA 93888               dated by the taxpayer hsted on hne la or 2a. If you        and return 1nformat1on are confidential, as required
   Oklahoma, Oregon.                                            completed line 5 requesting the return be sent to a        by section 6103.
   South Dakota, Utah.                                          third party, the IRS must receive Form 4506 within
   Washington. Wisconsin.                                       120 days o f the d ate signed by the taxpayer or it will      The llme needed to complete and Ille Form 4506
   Wyoming                                                      be re1ected. Ensure that all applicable lines are          will vary depending on individual circumstances. The
                                                                completed before signing.                                  estimated average time 1s: Leam ing a bout th e law




                                                                m
   Connecticut.                                                                                                            o r the fonn, 10 min.; Preparing the tonn, 16 min.:
   Delaware, District of                                                    You must check the box in Iha                  and Copying, assembling, and sending the form
   Columbia, Florida,                                                       signature area to acknowledge you              to the IRS, 20 min.
   Georgia. Maine.                                                          have the authority to sign and request           If you have comments concerning the accuracy of
                                                                                                                                                                                       IRPD : 000032 of 000032




   Maryland,                     Internal Revenue Service                                                                  these ttme estimates or suggestions for making
                                                                            the information. Tfle form will not be
   Massachusetts.                RAIVSTeam                                                                                 Form 4506 simpler. we would be happy lo hear from
   Missouri, New                                                processed and returned to you 1f the box 1s
                                 Stop 6705 P-6                                                                             you. You can write to:
   Hampshire, New Jersey.                                       unchecked.
                                 Kansas City. MO                                                                              Internal Revenue Service
   New Yor1<. North              64999                            Individuals. Copies of 101nt ly hied tax returns may
   Carolina, Ohio,                                                                                                            Tax Forms and Publications D1v1s1on
                                                                be furnished to either spouse. Only one signature 1s          1111 Constitu tion Ave. r-NV, IR-6526
   Pennsylvania, Rhode                                          required. Sign Form 4506 exacily as your name
   Island. South Carolina,                                                                                                    Washington, DC 20224.
                                                                appeared on the ong1nal return. If you changed your
   Vermont. Virginia, West                                      name, also sign your current name.
   V1rg1n1a                                                                                                                 Do not send the form to this address. Instead, see
                                                                                                                           Where to file on thi s page.




Filed                            18-CI-00325                 09/12/2018                         Karen Boehm, Scott Circuit Clerk
FiledCase:           18-CI-00325 10/30/2018          Karen Boehm, Scott Circuit
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                                           COMMONWEALTI I OF KENTUCKY




                                                                                                                   968C88A1-079E-4039-B349-9E26FA7D5616 : 000001 of 000004
                                                SCOTT CIRCU IT COURT
                                                       DIVISfON I
                                             CIVIL ACTION NO. 18-Cl-00325
                                                   Electro11ically Filed

        JERRY WILSON                                                                                   PLAfNTfFF

        vs.                                       MOTIO TO COMPEL

        ON TI lE SPOT TRUCKING, INC. and
        JAMES SHEARER                                                                            DEFENDANTS

                                                   ***      ***      ***     ***

                  Come the Defendants, On The Spot Trucking, Inc. and James Shearer, by counsel, pursuant

        to CR 37.0 I. and moves the Coun for an order compelling Lhe lntervening Plaintiff. JeITy Wi lson.

        to respond to the Interrogatories and Request for Production of Documents propounded upon the

        Lntervening Plaintiff on September 12, 2018. In support ofjts Motion. these moving Defendants

        state as follows:

                  On October 15, 2018. the undersigned sent correspondence to counsel to the Plaint if[

        requesting that Jerry Wilson respond to the discovery propounded upon iL. 1 /\s of the date of the

        filing of this Motion, undersigned counsel has not received Jerry Wilson's discovery responses.

                  WHEREFORE, Defendants, On The Spot Trucking, lnc. and James Shearer. pray the Court

        for entry of an Order compelling the Plaintiff, Jerry Wilson, to respond to the Defendants'

        discovery requests within ten days of the date of entry of said Order.

                                                             NOTICE
                  Please take notice that the foregoing Motion to Compel shall come on for hearing before
                                                                                                                   COM : 000001 of 000002




        the Scott Circuit Court, Division L on December 6, 20 18. at the hour of 9:00 a.m .. or as soon

        thereafter as counsel may be heard.


        1
            See September 12, 2018 correspondence, attached hereto as Exhibit I.



Filed                    18-CI-00325      10/30/2018                Karen Boehm, Scott Circuit Clerk
FiledCase:           18-CI-00325 10/30/2018          Karen Boehm, Scott Circuit
             5:19-cv-00003-REW-EBA     Doc #: 1-1 Filed: 01/07/19  Page:  44 ofClerk
                                                                                46 - Page ID#: 48



                                                                                 Respectfully submitted,




                                                                                                                                   968C88A1-079E-4039-B349-9E26FA7D5616 : 000002 of 000004
                                                                                 Mel i a Tlfompson Richardson
                                                                                 Tamarn J. Patterson
                                                                                 77 1 Corporate Drive, Suite 900
                                                                                 Lexington. Kentucky 40503
                                                                                 Telephone:     (859) 219-9090
                                                                                 Facsimile:     (859) 219-9292
                                                                                 COUNSEL FOR DEFENDANTS

                                                             CERTIFICATE OF SERVICE                           fl,,..
                    This is to certify that the foregoing has been served on this                      th2 J day of October 2018
        by mailing and/or emailing a true and accurate copy to the following:

         Robert L. Poole
         2656 Crescent Springs Road, Suite 1
         Covington, KY 41017



                                                                       ~s
         Counsel/or Plaintiff

                                                                                                                  ___

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             JERRY WILSON

             VS.                                               ORDER

             ON Tl IE SPOT TRUCKING. INC. and
             JAMES SHEARER                                                                                DEFENDANTS

                                                        ***    ***       •••        ***
                     The parties having appeared before the Court on the Motion to Compel filed by the

              Delenclants. On The Spot Trucki ng, Inc. and .lames Shearer, and the Court being otherwise

              sufficiently advised:

                     IT IS HEREBY ORDERED that the Motion is Cll~ANTF.D. The Plaintiff, Jerry Wilson,

              shall serve full-and-forthright responses to the Interrogatories and Requests for Production of
                                                               ':f.,_, ,-t-r ( ~   l'-1
              IJm.:uments propounded by Defendant within ~days of the date of th is hearing.
                         .               I+,              \----....
                      Entered this _c::;_ day of          L.J (       C...                ,   2018.




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                   1j: '\________/
              Tendered


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                                      CLERK'S CERTIFICATE OF SERVICE

                  This is 10 certify that the forego ing has been served on this thc1_ day of     J_a_,r___
                                                                                                         J _
        20 18 by mailing and/or emailing a true and accurate copy to the following:

            Robert L. Poole                             Melissa Thompson Richardson
            2656 Crescent Springs Road, Suite I         Tamara .I. Patterson
            Covington, KY 410 17                        WMR Defonse
            Co1111selfi1r Plai111ijt                    771 Corporate Dri ve. Suite 900
                                                        Lexington. Kentuck ~· 40503
                                                        Co1111s fiJr efenda111s



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